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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      January 26, 2021
BY ECF
The Honorable Cathy Seibel
United States District Judge
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

       Re:     United States v. Grafton E. Thomas, 20 Cr. 21 (CS)

Dear Judge Seibel:

        The parties in the above-referenced case write jointly to request an adjournment of the
February 1, 2021, hearing pursuant to 18 U.S.C. § 4241(d), due to a change in circumstances.
Specifically, as set forth below, the defendant has just recently, and voluntarily, begun a new
course of psychiatric treatment, which may have a reasonable chance of impacting the issues
before the Court. The parties jointly submit that an adjournment of approximately eight weeks
would be appropriate to permit this course of treatment to take effect, and to obtain an updated
report from the Bureau of Prisons, to better inform the Court and the parties’ respective positions
in advance of a hearing.

        In preparation for the hearing, the Government conferred with the defendant’s treating and
evaluating psychologist, Dr. Lea Ann Preston Baecht, Ph.D. Dr. Baecht is the author of the
October 26, 2020, forensic competency report which found that defendant had not been restored
to competency, and evaluated the probability that the defendant could be restored to competency
in the foreseeable future (the “Baecht Report”). As the Court knows, the Baecht Report described
that the defendant continued to experience symptoms of psychosis despite approximately eight
months of medication compliance with the anti-psychotic medication Zyprexa. (Baecht Report at
15). Dr. Baecht opined that “although it is possible Mr. Thomas might respond more favorably to
a different anti-psychotic medication, he is currently unwilling to voluntarily consent to a different
anti-psychotic medication.” (Id.) Dr. Baecht repeatedly advised the defendant to consent to a
change in medication, to no avail.

        However, on January 20, 2021, Dr. Baecht provided the Government the significant update
that the defendant voluntarily has consented to a change in his medication regimen. On January
26, 2021, the Government and defense counsel jointly conferred with Dr. Baecht regarding this
development.

       Dr. Baecht informed the parties that on or about January 15, 2021, at the recommendation
of the defendant’s treating psychiatrist, Dr. Robert Sarrazin, M.D., and with the defendant’s
consent, the defendant began taking a new anti-psychotic medication, Invega, in addition to the
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Zyprexa (Olanzapine) the defendant previously was prescribed. To date, the defendant is tolerating
the Invega, and continues to take it voluntarily. Dr. Baecht indicated there is a reasonable chance
that Invega will be effective in managing the symptoms of the defendant’s mental illness.
However, it takes approximately 6 to 8 weeks for such medication to take effect. As a result, Dr.
Baecht expects therapeutic results will not be apparent until on or after March 12, 2021.

        Given this change in the defendant’s treatment, the defendant’s voluntary consent to the
treatment, defense counsel’s consent to adjourn the hearing to permit the defendant’s continued
treatment at USFMC Springfield for these eight weeks, and the fact that the defendant otherwise
would be subject to detention pursuant to 18 U.S.C. § 3142(e) on grounds of dangerousness, the
parties submit that this continued confinement comports “with the reasonable time limitations of
due process.” United States v. Magassouba, 544 F.3d 387, 416 (2d Cir. 2008) (concluding that
19-month period of confinement was not constitutionally unreasonable).

        The parties propose that on or before April 1, 2021, Dr. Baecht submit a further report to
the Court, evaluating whether there is a substantial probability that the defendant will be restored
to competency in the foreseeable future, in accordance with 18 U.S.C. § 4241(d). On or before
April 7, 2021, the parties will submit a joint letter to the Court proposing (i) a hearing pursuant to
18 U.S.C. § 4241(d)(2)(A); (ii) continued treatment pursuant to 18 U.S.C. § 4241(d)(2)(A); or (iii)
confinement pursuant to 18 U.S.C. § 4246.




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       Accordingly, the parties respectfully request that the February 1, 2021, hearing be
adjourned in light of this change in circumstances. Should the Court grant the requested
adjournment, the Government respectfully requests an exclusion of time under the Speedy Trial
Act, 18 U.S.C. 3161(h)(1)(A), from February 1, 2021, through the adjournment date. Defense
counsel consents to the exclusion of time.

                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    United States Attorney for the
                                                    Southern District of New York

                                              By:              /s/
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                                                    Lara Eshkenazi
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                                                    GRAFTON E. THOMAS

                                              By:             /s/
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                                                    Bobbi E. Sternheim, Esq.




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